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                       Claim Information
                       Dear Mr. Spalding
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                           ‘            |   | a      r a vated a   pats iy a         ahecneee damian far FA £77 ED ay haua catin far tha incnartinn at
                       that occurred on October 1,2018. We are in receipt of your demand for $9,627.52 we have set up for the inspection of
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                       your motorcycle so we can move the claim forward. Once we inspect your 2007 Harley Davidson and get the payoff from
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                       your lien holder we will be in touch. We look forward to setting_ this claim quickly for you. Please do not hesitate to
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                       covet me with any questions.
                       contact

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                       Claims Department
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